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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA
                                                      Crim. No. 19-658 (KM)
        v.

 DARRYL DANCY                                         OPINION and ORDER




        The defendant, Darryl Dancy, has filed a motion (DE 23) to suppress
evidence or for a Franks hearing. The motion is directed primarily at evidence
seized as a result of searches of (a) Dancy’s residence in Irvington, and (b)
Dancy’s automobile, and it more indirectly addresses a search of (c) a second
residence in Rahway. The motion primarily challenges the adequacy of the
probable-cause showing in support of search warrants issued by the New
Jersey Superior Court, Essex County. Under the deferential standards of
Illinois v. Gates and Franks v. Delaware, the motion must be denied.
   I.        Introduction

        On September 17, 2019, Mr. Dancy was charged in a one-count
Indictment with possession of firearms by a convicted felon, in violation of 18
U.S.C. § 922(g)(1). (DE 19) On November 28, 2019, he filed the motion to
suppress (DE 23) that is the subject of this Opinion, and on December 13,
2019, the government filed a response. (DE 24) On January 3, 2020, the grand
jury returned a Superseding Indictment (DE 25) containing the following
charges:
        Count 1      Possession with intent to distribute 100 grams or more of
                     heroin (21 U.S.C. § 841(a)(1) & (b)(1)(B))

        Count 2      Possession of short-barreled shotgun in furtherance of drug
                     trafficking crime (18 U.S.C. § 924(c)(1)(B)(i))




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       Count 3      Possession of short-barreled rifles in furtherance of drug
                    trafficking crime (18 U.S.C. § 924(c)(1)(B)(i))

       Count 4      Possession of firearms without serial numbers (26 U.S.C.
                    §§ 5861(i) & 5871)

       Count 5      Possession of firearms by a convicted felon (18 U.S.C.
                    § 922(g)(1))

       On February 4, 2020, Mr. Dancy was arraigned on the Superseding
Indictment. Because the motion to suppress had been filed before the return of
the Superseding Indictment, I instructed defense counsel to inform the Court
whether any supplementation of the motion to suppress would be required.
(DE 26) The COVID-19 crisis intervened. On June 11, 2020, in response to an
inquiry from chambers, counsel stated that Defendant would stand on the
motion as-is.
II.    The Searches
       A. Search Warrant and Search of Dancy Residence in Irvington
       On June 18, 2018, the Essex County Prosecutor’s Office (“ECPO”)
obtained a search warrant (the “Dancy Residence Warrant”) for Mr. Dancy’s
residence in Irvington, New Jersey (the “Dancy Residence”). That warrant was
issued by the Honorable Mark Ali, J.S.C., of the Superior Court of New Jersey,
Essex County. The Affidavit in support of the application for the Dancy
Residence Warrant was signed by Detective John J. DeGroot of the Essex
County Prosecutor’s Office. (“Affidavit #1”) 1
       Affidavit #1 related that DEA Special Agent Eric Tyler had reported to
DeGroot that he had been working with a confidential source (“CS”) 2 for some
seven months. The information furnished by the CS had proven reliable in the
past; it had led to seizures of large quantities of heroin, money, and a firearm.

1      The Dancy Residence Warrant and the supporting Affidavit #1 were furnished to
chambers by the defendant as Exhibit B to the motion. The exhibits were not attached
to the filed version of the motion, but are now filed as DE 31.
2      In this Opinion, I will arbitrarily use the male pronoun to refer to CS. I possess
no information about this person beyond what appears in the search warrant
applications.


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      Affidavit #1 described a meeting between CS and Dancy on May 20,
2018, at the Dancy Residence:
      While at the location [i.e., the Dancy Residence], the CS was
      conversing with a black male known to the CS as “Darryl.” Darryl
      is known to live at the location and operates a black Chevrolet
      Silverado bearing New Jersey Registration H45JVS. Darryl is
      known to distribute large quantities of CDS-Heroin to various
      individuals (midlevel narcotic distributors) from out of the State of
      New Jersey. While inside the location the CS observed a kilogram
      of suspected CDS-Heroin, to which both parties were discussing
      various ways to “cut” the CDS-Heroin. (Cut-common street
      terminology for diluting the product to double the amount of the
      product for sale). Also while inside the apartment on or about
      September 17, the CS observed two (2) AR-15 style assault rifle[s]
      which Darryl related to the CS was made for him by a friend.
      Darryl further stated that he had another similar rifle and that he
      could get one for the CS to purchase, which would cost
      approximately $2,000. Both of these weapons Darryl stated were
      ghost guns. (Ghost gun – a firearm which was manufactured
      without a serial number is and difficult to trace the weapon’s
      origins.) which he obtained from a friend in South Jersey.

      A search of New Jersey motor vehicle records revealed that the 2015
Silverado was registered to Darryl Dancy. A check of PSEG utility records
showed that Darryl Dancy was the subscriber for the Dancy Residence
address. The CS identified a photo of Dancy as the person he knew as “Darryl.”
      Affidavit #1 relates that four days later, on May 24, 2018, CS met with
Darryl (i.e., Dancy) in Dancy’s store, which is located in the back of the Dancy
Residence. CS asked about the “previously observed narcotics and weapons,”
and Dancy replied that he would show them to CS again the next time the CS
was in Dancy’s residence. 3
      Affidavit #1 states that on June 15, 2018, CS again met with Dancy at
the Dancy Residence. There, CS “observed a two-toned gray and black
backpack on the kitchen table. The backpack contained one kilogram of

3     Affidavit #1 relates that at on June 4, 2018, DeGroot applied for and obtained a
search warrant for the Dancy Residence. This warrant was apparently never executed.


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suspected CDS-Heroin which was tan in color and inside of a clear zip lock
style bag.”
       A criminal record check of Dancy showed that he had six prior arrests,
ultimately yielding seven felony convictions. The arrests included narcotics-
related offenses, terroristic threats, robbery, unlawful possession of weapons,
unlawful possession of a weapon for an unlawful purpose, theft, burglary tools,
aggravated assault on law enforcement, multiple receiving stolen property
offenses, resisting arrest, eluding, and threatening to kill/harm a police
animal. The felony convictions were for conspiracy to commit theft, aggravated
assault on law enforcement, receiving stolen property (2), resisting arrest,
eluding, and theft.
       Based on that information, on June 18, 2018, Judge Ali issued a search
warrant for the Dancy Residence in Irvington. The officers began to execute the
warrant at 5:55 a.m. the following morning. Dancy was not then at home. 4
       Items seized at the Dancy Residence included the following:
       (a) a 12-gauge Mossberg Maverick Model 88 pump-action shotgun,
       bearing serial number MV69340K, with a barrel length of less than 18
       inches;
       (b) two .223 caliber semiautomatic rifles with unknown manufacturer,
       both bearing no serial number;
       (c) a.223 caliber Kel-Tec Model PLR16 semiautomatic pistol, bearing
       serial number POC58;
       (d) a .45 caliber Smith & Wesson Model SW1911PD semiautomatic
       handgun, bearing serial number JRJ2091, which was loaded with eight
       rounds of .45 caliber ammunition;
       (e) a .40 caliber Smith & Wesson Model SW40VE semiautomatic
       handgun, bearing a defaced serial number, which was loaded
       with thirteen rounds of .40 caliber ammunition;

4      Exhibit C to the motion includes a report, dated June 19, 2018 (the “6/19
Report”), describing inter alia this search and the items seized. See also Motion Ex. E
(inventory of items seized). (Exhibits are filed separately at DE 31.)


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       (f) a .38 caliber Smith & Wesson Model 638-3 revolver, bearing serial
       number CMY7698;
       (g) a .22 caliber Iver Johnson Model Supershot Sealed Eight revolver,
       bearing serial number L35080, which was loaded with eight rounds of
       .22 caliber ammunition;
       (h) a 9-millimeter Pietro Beretta Model 92FS semiautomatic handgun,
       bearing serial number J25615Z, which was loaded with fifteen rounds of
       9-millimeter ammunition;
       (i) a .40 caliber Kel-Tec Model SUB-2000 semiautomatic rifle, bearing
       serial number E2156, which was loaded with fifteen rounds of .40 caliber
       ammunition.
       (j) two firearms silencers;
       (k) hundreds of rounds of ammunition in various calibers;
       (l) raw heroin in both distribution and individual dosage quantities;
       (m) drug packaging paraphernalia (including stamps, thousands of
       glassine envelopes, a money counting machine, digital scales)
       (n) $22,370 in cash;
       (o) a bulletproof vest.
The firearms listed as items (a), (c), (d), and (i) were determined to be stolen.
       B. Search Warrant for the Silverado and Rahway Residence
       After the search of Dancy’s residence in Irvington, officers went to look
for him at the residence of his girlfriend 5 in Rahway (the “Rahway Residence”),
and eventually found him driving his 2015 Silverado (the “Silverado”). The
officers then went to Judge Ali and obtained a search warrant for the Silverado
and the Rahway Residence. The supporting affidavit, Affidavit #2, 6 repeated the
facts contained in the original application for the Dancy Residence warrant. It
added the following facts:

5      In identifying this person as Dancy’s “girlfriend,” I intend no disrespect. The
name of the person is withheld to preserve her anonymity, and the affidavit and police
reports refer to her in this manner.
6      Affidavit #2 is contained in Ex. D to the motion.


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      The Dancy Residence Warrant had resulted in the seizure of four assault
rifles, five handguns, one sawed off shotgun, silencers, large capacity
magazines, rounds of ammunition, approximately $22,000 in cash, CDS
packing materials, 200 glassine envelopes containing heroin, and 210 grams of
raw heroin.
      On June 19, 2018, at approximately 10 a.m., three officers went to the
residence of Dancy’s girlfriend in Rahway, New Jersey (the “Rahway
Residence”). The girlfriend told the officers that Dancy had left earlier, she and
permitted the officers to walk through the residence to confirm that Dancy was
not there. The officers observed a rifle and shotgun in a closet, as well as a .45
caliber handgun under a bed. On a coffee table were tan rubber bands
commonly used in packaging heroin. On the kitchen table was a cardboard box
containing glassine envelopes, commonly used to package heroin for
distribution, as well as similar, empty cardboard boxes.
      Shortly thereafter, at 11:20 a.m., two other officers observed Dancy
driving his Silverado on Chancellor Avenue in Irvington. Based on the results of
the earlier search warrant at the Dancy Residence, the officers pulled over the
Silverado. (Motion Ex. C, 6/19 Report). Dancy stated “I got nothing left just two
(2) bricks. You already hit my house.” (The affidavit relates that a “brick” is a
term for 50 glassine envelopes of heroin.) The officers arrested Dancy and
impounded the Silverado.
      Based on all of those facts, Judge Ali issued a search warrant for the
Silverado and the Rahway Residence. (Motion, Ex. D)
      The search of the Silverado on June 20, 2018, yielded the following:
      (a) black and gray backpack;
      (b) an Apple iPhone;
      (c) an Apple iPad;
      (d) a laptop and charging devices;
      (e) various pieces of mail belonging to Dancy;
      (f) $168 in U.S. currency.



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      The search of the Rahway Residence, also on June 20, 2018, yielded the
following:
      (a) a 12 gauge Kel Tec Shotgun, bearing serial number X0P11;
      (b) a .223 caliber Anderson Manufacturing Model AM-15 semiautomatic
      rifle, bearing serial number 16052747 (with a 30- round magazine);
      (c) .45 caliber Glock semiautomatic handgun, bearing serial number
      BEVE672;
      (d) raw heroin in both distribution and individual dosage quantities;
      (e) drug packaging paraphernalia (including stamps, glassine envelopes,
      a money counting machine, digital scales)
      (f) $1,220 in cash.
      Later investigation revealed that item (c), the .45 Glock semiautomatic,
was legally owned by Dancy’s girlfriend.

   III.   Discussion
      Mr. Dancy raises the following grounds for suppression of evidence:
      (1) an invalid Search Warrant was wrongfully authorized for Mr.
      Dancy’s residence; and (2) an unlawful stop of Mr. Dancy’s vehicle
      was conducted and an invalid Search Warrant for his vehicle was
      subsequently issued. [3] An evidentiary Franks Hearing is
      requested in support of Defense’s motion as Mr. Dancy’s
      constitutional rights were clearly violated because no probable
      cause existed to support the issuance of the Search Warrants.
      Thus, executing the searches were unreasonable and unlawful.
      Moreover, the Warrant Affidavits were supported by allegations
      displaying a reckless disregard for the truth through information
      provided by an unreliable informant and a lack of corroboration
      provided by independent police investigation.

(Def. Motion Brf. p. 4, DE 23)
      A. Probable Cause
      Defendant Dancy first argues that the affidavits in support of the search
warrants fail to set forth probable cause. Under the deferential standard of
Illinois v. Gates, I must deny the motion to suppress on these grounds.




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      The Fourth Amendment requires that, under the totality of the
circumstances, the judicial officer who issued the warrants possessed a
“substantial basis” to conclude that there was a “fair probability” that
contraband or evidence of a crime would be found at the subject premises.
Illinois v. Gates, 462 U.S. 213 (1983); United States v. Conley, 4 F.3d 1200,
1205 & n.2 (3d Cir. 1993). “Great deference” is owed the issuing judge’s
probable cause determination. Ornelas v. United States, 517 U.S. 690, 698
(1996); Gates, 462 U.S. at 236–38. That principle rests, in part, on the
Constitutional preference for warrants. See United States v. Ventresca, 380 U.S.
102, 109 (1965); United States v. Hodge, 246 F.3d 301, 305 (3d Cir. 2001)
(“‘The resolution of doubtful or marginal cases in this area should be largely
determined by a preference to be accorded to warrants.’”) (quoting United
States v. Jones, 994 F.2d 1051, 1057–58 (3d Cir. 1993)). Deference serves the
policy of encouraging officers to apply for warrants whenever possible, which is
what the officers did in this case.
      It follows that this Court, on a motion to suppress, is not tasked with
performing a de novo reassessment of the facts before the judge who issued the
warrant. Rather, it is to afford due deference to that judge’s determination of
probable cause, applying the “substantial basis” standard, supra.
      The probable cause determination embodies a commonsense conclusion
from the totality of the circumstances. As the name implies, probable cause
involves probabilities, not certainties, and it is “a fluid concept—turning on the
assessment of probabilities in particular factual contexts.” Gates, 462 U.S. at
231–32.
      A search warrant affidavit may be based on hearsay. United States v.
Burton, 288 F.3d 91, 103 (3d Cir. 2002) (noting that “direct evidence linking
the residence to criminal activity is not required to establish probable cause”);
Jones, 994 F.2d at 1056–57 (“While ideally every affidavit would contain direct
evidence linking the place to be searched to the crime, it is well established
that direct evidence is not required for the issuance of a search warrant.”). The



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presence of hearsay is a “circumstance . . . for the magistrate judge to consider
in determining whether there was probable cause, see Illinois v. Gates, 462
U.S. at 230, 103 S. Ct. at 2328.” Id.
      Where, as here, a warrant affidavit cites hearsay information obtained
from a confidential informant, the issuing judge must “make a practical,
common-sense decision whether, given all the circumstances set forth in the
affidavit before [the judge], including the ‘veracity’ and ‘basis of knowledge’ of
persons supplying hearsay information, there is a fair probability that
contraband or evidence of a crime will be found in a particular place.” Gates,
462 U.S. at 238–39. An informant’s “veracity” and “basis of knowledge” are not
rigid, independent prerequisites; rather, Gates held, they go into the mix of
facts to be considered as part of the “totality of the circumstances.” Id. at 233
(reversing the prior “Aguilar/Spinelli” test which required that both prongs be
independently satisfied).
      “A magistrate may issue a warrant relying primarily or in part upon the
statements of a confidential informant, so long as the totality of the
circumstances gives rise to probable cause.” United States v. Stearn, 597 F.3d
540, 555 (3d Cir. 2010). Gates itself upheld a warrant based on an anonymous
tip from an unknown person, in the form of a letter alerting the police to drug
activity and stating that a certain person would be traveling to and from
Florida on a particular date to obtain drugs.
      A step up from the anonymous tipster, however, is the confidential
source who is known to law enforcement and is working with them.
Information from such an informant, particularly if he or she has a track
record of reliability, does not raise equivalent concerns:
      [The informant’s] identity was obviously known to the law
      enforcement community at the time he proffered the information
      about the Defendant; thus, this case does not present some of the
      difficulties often associated with anonymous tipsters.

United States v. Dennington, Civ. No. 1:07-cr-43-SJM, 2009 WL 2591763 at *7
(W.D. Pa. Aug. 21, 2009).



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        The facts in Affidavit #1 clearly set forth probable cause. The basis of
CS’s knowledge is apparent. CS stated that he twice saw what appeared to be a
kilogram of heroin on the premises. CS discussed “cutting” the heroin with
Dancy. CS also saw two assault weapons on the premises, and Dancy offered
to sell CS “ghost” (i.e., untraceable) guns. Most recently, CS “observed a two-
toned gray and black backpack on the kitchen table. The backpack contained
one kilogram of suspected CDS-Heroin which was tan in color and inside of a
clear zip lock style bag.”
        It is true, as Dancy points out, that these were not observations of the
affiant law enforcement officer, but rather those of the undercover informant,
CS. In Dancy’s view, there was “no information” about CS’s veracity, and CS’s
information was not sufficiently corroborated.
        The information was, however, specific and detailed. CS, the affidavits
reveal, was no mere anonymous tipster. The affidavits state that federal agents
had been using CS investigatively for seven months. CS had a track record of
reliability; his information had led to seizures of a large quantitiy of heroin,
firearms, and cash.
        The officers obtained some corroboration, in that they verified from
public records that “Darryl,” the person that CS linked to the residence and the
Silverado, was Darryl Dancy. See United States v. Rivera, 347 F. App’x 833, 841
(3d Cir. 2009) (corroboration may involve innocent information). 7

7      Discussing corroboration of innocent surrounding circumstances in a drug
case, Rivera explicated the holding of Gates thus:
        Gates cited approvingly to Draper v. United States, 358 U.S. 307, 79 S.
        Ct. 329, 3 L.Ed.2d 327 (1959), on the issue of corroboration. There, an
        informant reported that Draper would arrive in Denver on a train from
        Chicago on one of two days, and that he would be carrying a quantity of
        heroin. The informant also supplied a fairly detailed physical description
        of Draper, including a prediction that he would be wearing a light colored
        raincoat, brown slacks, and black shoes, and would be walking “real
        fast.” Police corroborated this information when they observed a man
        matching this description get off a train arriving from Chicago, walking
        rapidly while wearing attire matching the tip. Even though these were all
        facts consistent with innocent activity, the Supreme Court found this to
        be sufficient corroboration to justify a finding of probable cause because


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        Additional corroboration was sought, and found, in the form of Dancy’s
long criminal record of six prior arrests, ultimately yielding seven felony
convictions. “‘The use of prior arrests . . . is often helpful’ to establish probable
cause, particularly where ‘the previous arrest or conviction involves a crime of
the same general nature as the one which the warrant is seeking to uncover.’”
Stearn, 597 F.3d at 557 (quoting United States v. Conley, 4 F.3d 1200, 1207 (3d
Cir. 1993)). Affidavit #1 relates that Dancy’s six arrests included multiple
narcotics related offenses and two offenses involving unlawful possession of
weapons, and that he had been convicted of violent and stolen-property
offenses. 8 Dancy’s criminal record was thus relevant to corroborate CS’s
statements that Dancy was dealing in narcotics and illegal firearms (especially
untraceable firearms, which are often stolen).
        Nor do the circumstances suggest that CS had any motive to fabricate.
CS was operating under the supervision of law enforcement; Affidavit #1 relates
that on May 20, 2018, at the Dancy Residence, CS “was gathering intelligence
for S/A Tyler.” 9 CS had to know that his information would likely be used to
support a search; in the past his information had led to seizures of heroin,
currency and a firearm. Thus CS surely knew that the reliability of his
information would be tested by any ensuing search. Any inaccuracy would be


        the sole material fact remaining to be verified was the presence of heroin.
        See Gates, 462 U.S. at 242–43, 103 S. Ct. 2317 (citing Draper, 358 U.S.
        at 309, 313–14, 79 S. Ct. 329).
Rivera, 347 F. App'x at 841.
8       As noted above, the six arrests included narcotics-related offenses, terroristic
threats, robbery, unlawful possession of weapons, unlawful possession of a weapon for
an unlawful purpose, theft, burglary tools, aggravated assault on law enforcement,
multiple receiving stolen property offenses, resisting arrest, eluding, and threatening
to kill/harm a police animal. Dancy’s seven felony convictions were ultimately for
conspiracy to commit theft, aggravated assault on law enforcement, receiving stolen
property (2), resisting arrest, eluding, and theft.
9       Affidavit # 1 states that Dancy was “known” by the police “to distribute large
quantities of CDS-Heroin to various individuals (mid level narcotic distributors) from
out of the State of New Jersey.” It is inferable that this knowledge motivated the
investigation, but the nature and source of such “knowledge” is not stated, so I give it
little weight.


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exposed immediately, jeopardizing CS’s position with the officers. See United
States v. Battershell, 457 F.3d 1048, 1052 (9th Cir. 2006)] (information given
by defendant’s girlfriend and her sister was deemed highly reliable where,
among other things, both women’s identities were known to law enforcement
such that they would be liable to repercussions if they lied about what they
had seen) (cited in Dennington, 2009 WL 2591763 at *7).
      Considering the totality of the circumstances, and applying the
deferential standard of Gates, I find that Judge Ali’s finding of probable cause
to search the Dancy Residence based on Affidavit #1 had a sufficient basis.
And, looking ahead, even if the case were considered a close one, the officers
acted in good faith. See Section III.C, infra.
      B. The Motor Vehicle Stop and Search
      Shortly after the Dancy Residence search, officers pulled over the 2015
Silverado and arrested Dancy. Dancy analyzes this as an ordinary investigative
traffic stop, which must be based on reasonable suspicion of criminal activity—
most commonly a traffic violation. See, e.g., Berkemer v. McCarty, 468 U.S.
420, 439 (1984) (citing Terry v. Ohio, 392 U.S. 1 (1968)); see also Rodriguez v.
United States, 575 U.S. ___, 135 S. Ct. 1609, 1614 (2015); Knowles v. Iowa,
525 U.S. 113, 117–18 (1998); United States v. Mosley, 454 F.3d 249, 252–56
(3d Cir. 2006) (surveying case law). Alternatively, he argues that this was an
invalid detention of a premises owner incident to the execution of a search
warrant. See Michigan v. Summers, 452 U.S. 692 (1981).
      It was neither. Dancy was not present for the execution of the Dancy
Residence Search Warrant. When Dancy was arrested, the search of his
residence had already occurred. The officers now knew that the search had
vindicated CS’s statements, which implicated Dancy in illegal drug and
weapons trafficking. The search had yielded assault rifles, handguns, a sawed-
off shotgun, silencers, large capacity magazines, rounds of ammunition,
approximately $22,000 in cash, CDS packing materials, 200 glassine envelopes
containing heroin, and 210 grams of raw heroin. Utility and motor vehicle



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records established that both the premises and the Silverado belonged to
Dancy, who already had a long criminal record. Not surprisingly, the officers
immediately went looking for Dancy. They found him driving the Silverado in
Irvington, not far from his residence.
         The reason for stopping the Silverado, then, was to arrest Dancy, based
on strong evidence of criminality. There was clearly probable cause for such an
arrest, and Dancy does not really contend otherwise. 10
         The police did arrest Dancy, and they impounded the Silverado. They did
not immediately search the Silverado, but instead returned to Judge Ali and
obtained a search warrant for the Silverado, as well as for the Rahway
Residence. 11

10        For cases, like the one here, involving warrantless arrests, we have
          recently stated the standard as follows:
            Probable cause exists whenever reasonably trustworthy
            information or circumstances within a police officer's knowledge
            are sufficient to warrant a person of reasonable caution to
            conclude that an offense has been committed by the person being
            arrested.... “[T]he determination that probable cause exists for a
            warrantless arrest is fundamentally a factual analysis that must
            be performed by the officers at the scene. It is the function of the
            court to determine whether the objective facts available to the
            officers at the time of arrest were sufficient to justify a reasonable
            belief that an offense was being committed.”
         [United States v. Myers, 308 F.3d 251, 255 (3d Cir. 2002)] (quoting United
         States v. Glasser, 750 F.2d 1197, 1206 (3d Cir. 1984)); see also Beck v.
         Ohio, 379 U.S. 89, 96, 85 S. Ct. 223, 13 L.Ed.2d 142 (1964). Although
         “probable cause must ultimately be decided by the courts, not the
         police,” Myers, 308 F.3d at 255, we must take care to “remember that
         police officers may well ‘draw inferences and make deductions ... that
         might well elude an untrained person.’ ” Id. (quoting United States v.
         Cortez, 449 U.S. 411, 418, 101 S. Ct. 690, 66 L.Ed.2d 621 (1981)).
United States v. Holmes, 69 F. App'x 66, 67–68 (3d Cir. 2003)
11     Dancy does not appear to challenge the search of his girlfriend’s Rahway
Residence. Such a challenge would face formidable obstacles. To begin with, law
enforcement officers observed contraband in the residence firsthand. The officers were
admitted to the apartment with the consent of the person living there. See Schneckloth
v. Bustamonte, 412 U.S. 218, 93 S. Ct. 2041 (1973); United States v. Matlock, 415 U.S.
164, 171, 94 S. Ct. 988, 993 (1974). Dancy would also have to establish that a search
of an apartment not owned or controlled by him violated his Fourth Amendment
rights. Minnesota v. Carter, 525 U.S. 83, 87, 119 S. Ct. 469, 472 (1998 (analyzed as


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         That warrant was supported by probable cause. Affidavit #2, submitted
in support of the warrant for the Silverado, first recapped the information in
Affidavit #1. (See pp. 3–5, supra.) The affidavit went on to report the results of
that search of the Dancy Residence, which had produced evidence, including
narcotics and guns, demonstrating that Dancy was a dealer in illegal narcotics
and guns. In addition, it cited the officers’ observations of guns and narcotics
distribution paraphernalia in the Rahway Residence where, according to the
girlfriend, Dancy had just been. Affidavit #2 also recited that when Dancy was
apprehended in the Silverado, he made an incriminating statement: “I got
nothing left just two (2) bricks. You already hit my house.” That statement is
plausibly interpreted as an admission that Dancy still retained two bricks of
heroin, separate and apart from the heroin at his residence.
         These facts established sufficient probable cause for the search warrant
insofar as it related to the Silverado. 12
         C. Leon and Good Faith
         In the alternative, I would deny the motion to suppress because the
officers relied in good faith on the search warrant issued by a neutral and
detached magistrate. See United States v. Leon, 468 U.S. 897, 104 S. Ct. 3405
(1984).
         The good faith exception may bar application of the exclusionary rule
“even though no probable cause to search exists.” United States v. Mortimer,



substantive Fourth Amendment issue); Rakas v. Illinois, 439 U.S. 128, 143, 99 S. Ct.
421 (1978) (analyzed as a standing issue).
12      Alternatively, discovery of the contraband in the Silverado was probably
inevitable. See generally Utah v. Strieff, 136 S. Ct. 2056, 2061 (2016); Nix v. Williams,
467 U.S. 431, 443–444, 104 S. Ct. 2501 (1984) (“inevitable discovery” doctrine). The
officers here commendably applied for and obtained a warrant. They would have been
authorized, however, to perform a warrantless inventory search of the impounded
Silverado pursuant to established procedures. See Colorado v. Bertine, 479 U.S. 367,
371, 107 S. Ct. 738 (1987); Illinois v. Lafayette, 462 U.S. 640, 643, 103 S. Ct. 2605
(1983). Alternatively, they might have performed a warrantless search of the vehicle, or
at least its passenger compartment, incident to arrest. See Riley v. California, 573 U.S.
373, 384–85, 134 S. Ct. 2473, 2484 (2014).


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387 F. App’x 138, 2005 WL 318650 (3d Cir. 2005) (quoting United States v.
Hodge, 246 F.3d 301, 307 (3d Cir. 2001) (internal quotations omitted)).
      Under United States v. Leon, when an officer acts in the objectively
      reasonable belief that his conduct does not run afoul of the Fourth
      Amendment, the marginal benefits from suppressing the evidence
      do not match up to the substantial costs of excluding it. 468 U.S.
      at 922. In deciding whether the good faith exception applies, we
      ask “whether a reasonably well trained officer would have known
      that the search was illegal despite the magistrate's authorization.”
      United States v. $92,422.57, 307 F.3d 137, 145–46 (3d Cir. 2002)
      (quoting United States v. Loy, 191 F.3d 360, 367 (3d Cir. 1999)).

United States v. Gallo, 110 F. App'x 265, 269–70 (3d Cir. 2004).
      The “good faith exception” is at its zenith when the officer, as the officers
did here, seeks the authorization of a judicial officer by applying for a search
warrant. “[T]he mere existence of a warrant typically suffices to prove that an
officer conducted a search in good faith and justifies application of the good
faith exception.” Hodge, 246 F.3d at 307–08; accord United States v. Mortimer,
387 F. App’x 138, 2005 WL 318650 (3d Cir. 2005); Gallo, 110 F. App'x at 269–
70 (3d Cir. 2004).
      Still, an officer’s reliance on a warrant may be found unreasonable under
four limited circumstances:
           (1) [when] the magistrate [judge] issued the warrant in reliance
           on a deliberately or recklessly false affidavit;

           (2) [when] the magistrate judge abandoned his judicial role
           and failed to perform his neutral and detached function;

           (3) [when] the warrant was based on an affidavit ‘so lacking in
           indicia of probable cause as to render official belief in its
           existence entirely unreasonable’; or

           (4) [when] the warrant was so facially deficient that it failed to
           particularize the place to be searched or the things to be
           seized.

Gallo, 110 F. App'x at 269–70 (citing Hodge, 246 F.3d at 308).




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      As for the second circumstance, there is not the slightest
indication that the state judge who issued the warrant abandoned his
neutral role. As for the fourth circumstance, there is no substantial
contention that the warrant inadequately described the Dancy Residence
or the items to be seized.
      The third circumstance posits an affidavit not merely lacking in
probable cause, but so lacking that the police officer should have known
better than to rely on it. The worst that can be said of Affidavits #1 and
#2 is that they presented a debatable or close call. I have already
analyzed them and found that they set forth probable cause. These were
not mere “bare bones” recitals of legal or factual conclusions; they were
recitals of historical fact, based on an eyewitness account and other
information. See Gallo, 110 F. App'x at 269–70 (“As our probable cause
analysis has already shown, [the government’s] affidavit ‘was not a bare
bones document’ but contained sufficient indicia of probable cause to
support [the district justice's] finding of probable cause. . . Once the
[district justice] made that call, it was objectively reasonable for the
officers to rely on it.” (quoting Hodge, 246 F.3d at 309). A fortiori, these
affidavits were not so weak that the law enforcement officers should have
second-guessed the judge’s assessment.
      That leaves the first circumstance: a warrant based on a
deliberately or recklessly false affidavit. I discuss that circumstance in
Section III.D, immediately following.
      D. Franks Hearing
      Finally, Dancy seeks a Franks hearing as to what he says is false
information in the search warrant affidavits. See Franks v. Delaware, 438 U.S.
154 (1978). Generally speaking, a court will presume the validity of information
in a search warrant affidavit of probable cause. See United States v. Yusuf, 461
F.3d 374, 383 (3d Cir. 2006). Under limited circumstances, however, that




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presumption can be overcome, and the defendant may challenge the
truthfulness of statements in the affidavit. Id. A twofold showing is required.
      First, a defendant who seeks a Franks hearing must “make a ‘substantial
preliminary showing’ that the affiant knowingly or recklessly included a false
statement in or omitted facts from the affidavit.” Pavulak, 700 F.3d at 665
(citing Franks, 438 U.S. at 155–56). Such a showing must include “an offer of
proof contradicting the affidavit, including materials such as sworn affidavits or
otherwise reliable statements from witnesses.” Id.
      Second, the defendant must “demonstrate that the false statement or
omitted facts are ‘necessary to the finding of probable cause.’” Pavulak, 700
F.3d at 665 (quoting Yusuf, 461 F.3d at 383–84).
      No such showing is proffered here. The defendant submits no affidavit,
statement, or even a proffer of evidence that the statements in the affidavit
were false—or, more to the point, that the affiant knew of or was reckless with
respect to their falsity.
      Chiefly, Dancy claims that there was “no evidence” of CS’s reliability. The
affidavits, however, state that CS had worked with the federal authorities for
seven months, that his information had proven reliable, and that it had
resulted in prior seizures of heroin, money, and a firearm. Defendant offers no
facts to suggest this was untrue, or that the affiant had any reason to think so.
      Dancy repeats his earlier contention that there was insufficient
corroboration of CS’s statements. Again, however, this falls far short of
evidence that the statements were untrue, or that the affiant recklessly
disregarded their untruth. Dancy essentially criticizes the thoroughness of the
officers’ investigative techniques. He states that if the officers had investigated
further before seeking the search warrant, they could have reduced their
reliance on the statements of the CS. It is far from clear, however, that the
officers could have gained first-hand access to Dancy or his residence.
Moreover, much of the contraband they were seeking was Dancy’s stock in
trade; it was likely to be moved or sold. The officers’ decision to act when they



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did, based on the information they had, falls far short of knowledge or
recklessness with respect to the truth of CS’s statements.
         Dancy complains that there was insufficient explanation of an earlier
search warrant obtained on June 4, 2018. That earlier warrant, apparently
never executed and not at issue here, is irrelevant to the issue of whether there
was a sufficient basis for the warrant that is at issue here. (The warrant at
issue was obtained later, after CS had returned to the premises on June 15,
2018, and obtained further evidence.)
         The only actual inaccuracy Dancy points to is in reference to a .223 rifle
seized at the Rahway Residence. This he appears to cite as general evidence of
“recklessness,” because, as he acknowledges, it has no bearing on the probable
cause showing for either search warrant. 13
         The necessary Franks showing of reckless or intentional falsehood—
which overlaps the finding necessary to pierce the good faith exception—has
not been made here.


13     This challenge seems to be directed, not at the search warrant affidavits, but at
the lack of evidence to support part of the charge in the original indictment:
         Apart from the Search Warrant, a clear reckless disregard for the truth
         can be exhibited in the U.S. Government’s actions to indict Mr. Dancy.
         With regard to the Indictment, one of Mr. Dancy’s charges included
         possession of a .223 caliber semiautomatic rifle. Yet, this firearm was not
         at all included in the Return of Search Warrant, upon execution of said
         Warrant on Mr. Dancy’s residence—located at [redacted] Irvington, New
         Jersey. Rather, that exact firearm appears on the Return of Search
         Warrant for the other residence—located at [redacted] Rahway, New
         Jersey. The U.S. Government has absolutely no basis to charge Mr.
         Dancy for a firearm that was not discovered and seized inside of his
         residence.
(DE 23, Def. Brf. pp 23–24 (emphasis added)) A Franks challenge relates to the
information submitted to obtain a warrant; any later inaccuracy in describing the
items seized as a result of the search warrants is irrelevant to the inquiry.
      The Rahway Residence search and the inventorying of the items seized
necessarily occurred after the government made its probable cause showing and
obtained the search warrants, and any error in charging occurred after that. The
government implies that any such charging error has been corrected in the
Superseding Indictment (belatedly, for scheduling reasons), but in any event it does
not implicate the Franks analysis. (See Gov’t Brief 16, DE 24.)


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                                  ORDER
     Accordingly, for the reasons expressed above,
     IT IS this 24th day of June 2020,
     ORDERED that the defendant’s motion to suppress evidence (DE 23) is
DENIED.


                                          /s/ Kevin McNulty

                                          ______________________________
                                             KEVIN MCNULTY, U.S.D.J.




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